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 1                   IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 2
         UNITED STATES OF AMERICA,             )   Criminal Action
 3                                             )   No. 1:21-CR-0399
                               Plaintiff,      )
 4                                             )   MOTION HEARING
         vs.                                   )
 5                                             )   Washington, D.C.
         ROMAN STERLINGOV,                     )
 6                                             )   September 21, 2023
                               Defendant.      )   Time: 10:00 A.M.
 7

 8                        TRANSCRIPT OF MOTION HEARING
                  BEFORE THE HONORABLE JUDGE RANDOLPH D. MOSS
 9                        UNITED STATES DISTRICT JUDGE

10
                                A P P E A R A N C E S
11

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 1                        A P P E A R A N C E S (Cont'd.)

 2
         For CipherTrace:            ANTHONY J. JAY, III - VIA ZOOM
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         Court Reporter:             Tamara M. Sefranek, RMR, CRR, CRC
22                                   Official Court Reporter
                                     United States Courthouse, Room 6714
23                                   333 Constitution Avenue, NW
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 1                              P R O C E E D I N G S

 2                   THE COURTROOM DEPUTY:      Calling Criminal Case 21-399,

 3       United States of America v. Roman Sterlingov.

 4                   Would counsel please state their names for the

 5       record, starting with government counsel.

 6                   MS. PELKER:    Good morning, Your Honor.         Alden Pelker

 7       for the United States, joined at counsel table by Christopher

 8       Brown and Jeffrey Pearlman.

 9                   THE COURT:    All right.     Good morning.

10                   MR. EKELAND:    Good morning, Your Honor.          Tor Ekeland

11       and Michael Hassard for Defendant Roman Sterlingov, who is

12       present in court.

13                   THE COURT:    Okay.     Thank you.    We have counsel for

14       CipherTrace here; if you want to enter an appearance as well,

15       please, by video.

16                   MR. JAY:   Good morning, Your Honor.          Joseph Jay for

17       CipherTrace.

18                   THE COURT:    Okay.     Thank you for being here.

19                   MR. JAY:   Thank you, Your Honor.

20                   THE COURT:    Why don't we go ahead and start with

21       Mr. Ekeland.    Why don't you give me an update on where things

22       stand.

23                   MR. EKELAND:    I'm sorry.     Is there anything the Court

24       would like me to address in particular right now?              I do have a

25       little bit of housekeeping in relation to access to our client
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 1       and the jail.

 2                   THE COURT:   I mean, the notion that you would at this

 3       point in time just stand up and say, "Is there anything I want

 4       you to address" and "There's a little bit of housekeeping," you

 5       know what's -- the major issues that are in front of the Court.

 6       When are we going to trial?         Who are the experts?        Where do we

 7       stand with the trial?

 8                   I'm happy to address any housekeeping matters.             But

 9       there are major issues that I assumed you would be prepared to

10       address today.

11                   MR. EKELAND:    I am, Your Honor.          As the Court knows,

12       we've asked for the February trial date.              We've asked for it to

13       be continued until then.      We've submitted to the Court the

14       schedule of our experts.

15                   The reason we initially asked them to be under seal

16       is we were asked by one of our experts who has a stalker to not

17       reveal --

18                   THE COURT:   You didn't say that in your motion, and

19       you didn't reveal any personal information about their

20       whereabouts or anything like that in the motion.

21                   MR. EKELAND:    Your Honor, I did say -- I

22       understood -- we thought the Court -- we should have said that.

23       This was something that came up at one of the hearings before

24       with one of the items.

25                   But, regardless, we're still asking for the February
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 1       trial date, and we -- our understanding was that the Court had

 2       a hearing yesterday, and I don't think our position has changed

 3       on that.

 4                   THE COURT:    The October period does remain available

 5       at this time.    At this point in time, is Ms. Still your expert

 6       or not?

 7                   MR. EKELAND:    She is, Your Honor.

 8                   THE COURT:    Okay.

 9                   MR. EKELAND:    You know, we think there's substantial

10       due process issues with our noticed expert, who is clearly

11       qualified, who, essentially, the government is saying is

12       attempting -- it's our position that the government is

13       attempting to dictate who we -- the defense can have for an

14       expert and how the evidence can be reviewed on purely

15       competitive concerns.

16                   And as we've said to this Court before, we think that

17       that is a due process violation, also a Sixth Amendment --

18                   THE COURT:    Just back up for a moment here.           You told

19       me previously that Ms. Still had signed the original protective

20       order.    She was fine with that; the company was fine with that.

21       And I said okay, let's hear from the company, and I think we

22       can work with that.

23                   And now you've filed something saying that she

24       refuses under any circumstances to look at the disclosures that

25       have been made.      It's nothing the government is doing.          She has
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 1       said she -- or her company has said they refuse to look at the

 2       information, period.

 3                   MR. EKELAND:    I think there's a big difference here.

 4       We went back and looked at the signed protective order last

 5       night, and it was signed by CipherTrace's counsel after review

 6       and nothing -- on behalf of CipherTrace and the employees of

 7       CipherTrace.

 8                   And nothing in the original protective order mentions

 9       these proprietary concerns, which are the whole subject area of

10       the new protective order.      And what has changed is that there's

11       an assertion of a proprietary interest and a non- --

12                   THE COURT:   Forget the new protective order; just the

13       old protective order.      We've got counsel for CipherTrace here.

14       Just the old protective order; forget the new one.

15                   MR. EKELAND:    Yes.

16                   THE COURT:   Are we ready to go?          Can she look at the

17       material?

18                   MR. EKELAND:    It's my understanding, because there's

19       an assertion that the new material is -- and this is why

20       CipherTrace's counsel is here -- because there's anti- --

21       noncompete language, and there's --

22                   THE COURT:   No, no, no.     Forget that.       Throw it -- if

23       I vacate that order, now what do you do?             I'm not really

24       vacating it.    But, hypothetically, if I were to vacate that

25       order, what's the problem?
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 1                   MR. EKELAND:    My understanding is that Chainalysis is

 2       asserting that this newly provided information is proprietary

 3       and that that is what changes.       Before we were looking at

 4       evidence in a federal criminal case that nobody said this is

 5       proprietary, there's IP concerns.

 6                   THE COURT:    Why do you think CipherTrace was required

 7       to sign a protective order?

 8                   MR. EKELAND:    So that the evidence in the case wasn't

 9       disclosed publicly.      But that's different --

10                   THE COURT:    It doesn't say that.       I mean, it says

11       that, but it also says that it may be used by the defendant and

12       defense counsel solely in connection with the defense of this

13       case and for no other purpose.

14                   MR. EKELAND:    Absolutely, Your Honor.        But what

15       wasn't in any of the disclosures and what's different here is

16       now Chainalysis is asserting that the newly produced

17       information is proprietary, and that, I believe, is the crux of

18       the issue here and what is different.

19                   Nobody was balking at it before -- and CipherTrace's

20       counsel reviewed it -- when it was a fairly standard protective

21       order.   But now there's been all these assertions that this is

22       intellectual property.      There's all these things just outside

23       of -- and I believe this is what CipherTrace's counsel here is

24       to discuss -- is Chainalysis came in and said, look, this is

25       IP; this is proprietary.
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 1                   And it raised all these competitive concerns, which

 2       now we're in the position where, essentially, the government

 3       gets to pick the private vendor they want to use to prosecute

 4       the case, and the defense is being told we can't use the

 5       private vendor that we would like to use --

 6                   THE COURT:   You can use them -- absolutely use them.

 7       Not a problem at all.

 8                   MR. EKELAND:    Well, Your Honor, I think CipherTrace's

 9       counsel is here to discuss that.

10                   THE COURT:   Okay.      Why don't I hear from him then.

11       You're on mute, I think.

12                   MR. JAY:   Your Honor, good morning.

13                   THE COURT:   Good morning.

14                   MR. JAY:   So I apologize, Your Honor, at the outset.

15       I've just been brought into this in the last couple of days.

16       And while I've tried to familiarize myself as much as I can

17       with the proceedings, I have not been -- I will tell you that

18       I'm not completely up to date on everything that's transpired.

19                   From our position, from CipherTrace's position, first

20       of all, to assuage any concerns about the protective order, the

21       protective order -- the original protective order -- I believe

22       that's Docket 18 -- was signed by an authorized signatory for

23       CipherTrace and binds the company and all of its employees to

24       the protective order.

25                   We believe that the company has fully abided by and
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 1       all of its employees have fully abided by it, and that they

 2       will continue to abide by that protective order.            They

 3       understand their obligations.       They serve as experts in a

 4       number of criminal cases, and that's not a problem.

 5                   What I understand is that the expert report that was

 6       originally prepared by Ms. Still, a CipherTrace employee, was

 7       based on what I would call more run-of-the-mill Rule

 8       16/criminal discovery materials.

 9                   What has caused CipherTrace concern is the assertion

10       by Chainalysis that the additional production materials are

11       different, materially different in some way, that they contain

12       highly sensitive, proprietary and otherwise what we would

13       consider to be near trade secret data.

14                   And their concern is illustrated by the very strong

15       revised protective order that has elements that we've not seen

16       in prior protective orders, including the potential -- the idea

17       of a noncompete agreement embedded within the protective order.

18                   THE COURT:   That was an earlier draft.         There is no

19       noncompete in this protective order.

20                   MR. JAY:   There is the suggestion that the

21       information can't be used for -- I appreciate that, Your Honor.

22                   There is a suggestion in the revised protective

23       order, however, that the information cannot be relied upon for

24       any future development of technology, et cetera, et cetera.

25       While we understand that and would agree to that in principle,
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 1        we're not able -- we believe that entering into such an

 2        agreement would expose the company to potential sanction or at

 3        least litigation over potential sanction or future litigation

 4        just because, as the government put in its brief last night,

 5        once you turn that stuff over, that sensitive information, that

 6        highly proprietary information over to your competitor, the

 7        horse is out of the barn.

 8                   And we don't want to be in a position where -- the

 9        company does not want to be in a position where it's received

10        information that its competitor is calling highly sensitive and

11        proprietary information.     We viewed --

12                   THE COURT:    I'm sorry.

13                   MR. JAY:    I'm sorry, Your Honor.

14                   THE COURT:    My understanding is that Ms. Still is not

15        involved in any way in product development, that she certainly

16        is not a coder, she's not writing or preparing algorithms.

17        When she testified in front of me, she was unaware even of the

18        technology that CipherTrace itself uses, didn't know whether it

19        controlled for CoinJoin, for example, and numerous times she

20        said I'd have to check with an engineer.

21                   So from what I've heard from her testimony, she's

22        just not involved in that type of product development.              And so

23        if it was only given to her and perhaps if she only went and

24        looked at the material in some other office space -- so it

25        doesn't even enter CipherTrace's office space -- does that
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 1        address your concern?

 2                   MR. JAY:    It may, Your Honor, especially if we -- if

 3        you were to agree that the information could be reviewed

 4        without the revised protective order; if we went back to

 5        complying with the original protective order.

 6                   THE COURT:    But I will say -- the original protective

 7        order, I have to say -- just so you understand -- I don't see a

 8        difference.   I think the new one may give Chainalysis a little

 9        bit more comfort because it's more express.

10                   But as the judge on the case, I understand the

11        original protective order to say that anyone who signs the

12        attachment, which was signed by CipherTrace, is bound not to

13        disclose any of the information and to use it only in

14        connection with the defense of the case and for no other

15        purpose.

16                   MR. JAY:    Correct.

17                   THE COURT:    That includes competitive purposes.        So

18        the new protective order spells that out in greater detail, but

19        I don't think it actually substantively changes anything

20        because under the old protective order, anything that is

21        disclosed pursuant to the protective order may only be used for

22        purposes of the case and for no other purpose.

23                   MR. JAY:    I think I can appreciate that it spells it

24        out in more detail.

25                   My concern is that the new protective order says that
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 1        this information that is going to be provided at this time is

 2        different than the nature of the information that was

 3        originally provided and that it's more proprietary, more

 4        confidential, and potentially raises additional competitive

 5        concerns; that the prior production, the information that was

 6        relied upon by Ms. Still in preparing her expert report, was

 7        not of the same nature.

 8                   Now, I know the government may take issue with that

 9        and I read their filing last evening, but that was at least my

10        understanding.

11                   THE COURT:     Well, I do think that there was

12        information that was proprietary that was disclosed, and that

13        was the reason that there was a request and a requirement to

14        sign the protective order.      It is either -- it may be a

15        combination of both being proprietary and law-enforcement

16        sensitive because both your client and Chainalysis assist law

17        enforcement.    And for those who are trying to evade law

18        enforcement to know what algorithms they're using, is

19        law-enforcement sensitive, as well as being proprietary.

20                   But I'm just trying to find an -- to get to a

21        solution here.      And perhaps Chainalysis would be okay with

22        proceeding pursuant to the original protective order with my

23        clarification that it bars anyone who -- the information that's

24        disclosed -- from disclosing the information or using it for

25        any purpose other than this litigation.
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 1                    If I clarify that and then provide -- maybe both

 2        Chainalysis and CipherTrace would be happier if you found some

 3        neutral ground somewhere, an office space somewhere, maybe

 4        something that the FBI or the U.S. Attorney's Office could

 5        accommodate.    But just some neutral office space where the

 6        disclosure can be made, and Ms. Still can come and look at it

 7        there and draw any conclusions she has to, and maybe even to

 8        make a -- if she wants to do any analysis and run any numbers,

 9        have a computer available to her there that would be scrubbed

10        afterwards and she wouldn't take with her.

11                    That way you wouldn't have to worry about anyone

12        subsequently claiming that CipherTrace stole Chainalysis's

13        proprietary information, and Chainalysis would be comfortable

14        that its material and information was secure.

15                    You think something like that would be workable?

16                    MR. JAY:   I would have to check with my client, Your

17        Honor.    But I believe that that's closer to what my client

18        might be able to agree to rather than the existing protective

19        order.

20                    If we were to proceed under those terms, I think that

21        might be feasible.     But, again, I'd have to check with my

22        client.

23                    THE COURT:   You might tell your client that the judge

24        doesn't see any material difference between the two protective

25        orders.   Under either protective order, it's clear that this
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 1        information can only be used for the purpose of this case and

 2        cannot be disclosed to anybody else.         That's the substance of

 3        both protective orders.

 4                   And, you know, I don't want to get too hung up on

 5        what the language is of one or the other because they both

 6        provide the same thing in this regard.

 7                   And it would be a violation of the protective order

 8        under -- either protective order for Ms. Still, for example, to

 9        come back to CipherTrace and say, oh, you know -- lightning

10        bolt of insight here -- here's what we ought to do.             Let's

11        build this into our software, and we're going to really be able

12        to compete and offer a better product than Chainalysis.             We'll

13        have everything that Chainalysis has, plus what CipherTrace

14        has.

15                   Either way, they can't do that.

16                   MR. JAY:    No.   And we understand that, Your Honor.

17        Our focus is not so much on the protective order but on the

18        nature of the information and the exposure to CipherTrace if,

19        indeed, it receives the information.

20                   Again, when we saw the new protective order and we

21        saw that it -- it's not just highly confidential information,

22        but it's sensitive, proprietary, potential trade secret-level

23        information, that's where our concern ran.          And we don't want

24        to, you know -- Ms. Still certainly stands by her expert

25        report.
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 1                    We are just concerned, and I think Your Honor has

 2        offered some solutions that might assuage my client's concerns.

 3        But their concerns are, again, receiving this and having it

 4        more broadly -- exposing itself potentially to IP litigation or

 5        competition concerns down the road after the case is concluded.

 6                    And so with some of the -- some of the accommodations

 7        Your Honor has suggested, we might be able to move past that.

 8        I need to confer with my client.

 9                    THE COURT:    Okay.     Well, I would appreciate it if you

10        would do that.      But my goal here is just to get to a place

11        where everyone's interests are met, and I think that's

12        achievable.

13                    I think all Chainalysis is concerned about is making

14        sure that no one takes its proprietary information and uses it

15        to compete against it, which is an entirely reasonable

16        position.   Your client's only concern is making sure that it's

17        not wrongfully subject to suit or sanctions for having

18        misappropriated information, when it didn't, in fact,

19        misappropriate information.

20                    And to my mind, the key to that is finding a way just

21        to wall off Ms. Still.      And it's up to you whether there's

22        anyone who could work -- you would want to work with Ms. Still

23        on this, who would live by the same conditions.              But wall off

24        Ms. Still, who is not involved in the product development, let

25        her look at the information at a neutral site in a neutral way;
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 1        it doesn't have to ever enter your client's offices.

 2                   And if Ms. Still, you know, attests that she has not

 3        disclosed it to anybody other than perhaps in court, to the

 4        extent that it comes up in court, and that she's not used it

 5        for any other purpose, I think we're in good shape.

 6                   MR. JAY:      I'll take that back to my client, Your

 7        Honor.   It does seem to assuage the concerns that we have.

 8                   THE COURT:      Okay.     All right.        Thank you.

 9                   MR. JAY:      Thank you, Your Honor.

10                   THE COURT:      Ms. Pelker, you look like you want to add

11        something here.

12                   MS. PELKER:      Yes, Your Honor.           I mean, I think first

13        and foremost -- and I understand that Mr. Jay is being brought

14        in and trying to get up to speed, but this is a solution that

15        Your Honor has proposed to defense counsel, and the idea that

16        they haven't talked to CipherTrace and CipherTrace's counsel

17        and explained that this was the proposed solution and that we

18        just continue to be in this waiting and delaying game just

19        continues to emphasize the government's concern here.

20                   It sounds as though Ms. Still is going to remain as

21        the government -- as the defense expert.               Whether she wants to

22        review this additional material or not, she -- that is her

23        choice, and the government submits that we should simply go

24        forward on October 10th with or without Ms. Still's review of

25        the material.       She can testify based on her prior review.
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 1                    I do want to address the representations made about

 2        the prior protective order.        And the government's very

 3        concerned to hear that the protective order attachment was just

 4        signed by a CipherTrace attorney, kind of, covering every

 5        single CipherTrace employee.

 6                    I think that the protective order is clear that it's

 7        meant to be signed by any individual -- and the attachment uses

 8        the term "individual" -- who is going to have access to the

 9        material.   And that any individual who is given access needs to

10        review the protective order and agree to be bound by it.

11                    And the point here is not for massive amounts of

12        government discovery, which does include sensitive clustering

13        and heuristics information that was already provided in the

14        last batch, to simply be sent over to another company for any

15        employee of the company to do whatever they want with it

16        without each employee who is viewing the material to review the

17        protective order and agree to be bound by it.

18                    And the government's concerned that we understood

19        that Ms. Still was being brought on as an expert, and perhaps

20        she needed to engage with a CipherTrace engineer, perhaps she

21        needed to engage with someone else at CipherTrace, but the

22        clear procedure there would be for that person to review the

23        protective order, agree to be bound by it.

24                    It sounds like what might have happened is just that

25        this information was sent over to CipherTrace, writ large, and
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 1        all of the employees at CipherTrace who have now already

 2        reviewed Chainalysis's heuristics information may not have

 3        reviewed this protective order, may not have agreed to be bound

 4        by it.   It doesn't change the company's obligation, but this

 5        really is meant to be an individual-signed review and an

 6        obligation by defense counsel to ensure that everyone who is

 7        reviewing this material reviews the protective order.

 8                   And I think that you can tell from Ms. Still's

 9        report -- and I understand that Mr. Jay may not have had the

10        opportunity to review the report and the transcript in detail,

11        but CipherTrace has already undergone, through Ms. Still, a

12        detailed review and analysis of Chainalysis's heuristics,

13        Chainalysis's clusters, compared them address by address, going

14        through over 900,000 addresses just for the Bitcoin Fog cluster

15        alone, and comparing them address to address to CipherTrace's

16        and how they were clustered.

17                   And if that was then just made available to all of

18        the CipherTrace engineers and everyone who is doing clustering,

19        I think that really highlights the need for added specificity

20        in a protective order.

21                   THE COURT:    I don't think there's a need -- on this

22        issue, I don't think there's a need for added specificity.          I

23        do think you're right, that the protective order is clear about

24        it.   It says, "No sensitive materials or information contained

25        therein may be disclosed to any person other than the
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 1        defendant, defense counsel, and persons employed to assist the

 2        defense, including experts, except if the person to whom

 3        disclosure is made signs the acknowledgment form attached as

 4        Attachment A."

 5                   And then there's other language here as well about

 6        "potential witnesses, experts, and their counsel may be shown

 7        copies of the material, as necessary, to prepare the defense,

 8        but they may not retain copies without signing the

 9        acknowledgment form as Attachment A to this order pursuant to

10        the provisions of paragraph 8," which is the paragraph I just

11        read.   And I do think that that is an individual

12        responsibility.

13                   And I will ask Mr. Jay if you can confirm with

14        CipherTrace who, in particular, has been -- received the

15        confidential material that was produced pursuant to the earlier

16        protective order and ask that each individual go ahead and sign

17        the acknowledgment and the undertaking not to disclose.

18                   I mean, I realize it would have been better to do

19        that beforehand, but at this point -- I do think that the

20        signature by the general counsel is helpful -- but I think each

21        individual should sign it.

22                   Yes, Mr. Ekeland?       You're standing up.

23                   MR. EKELAND:    Your Honor, we made very clear to

24        everybody that -- involved in this that they had to review the

25        protective order.     We sent copies of the protective order to
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 1        everybody who -- and I've got records of this -- who worked on

 2        this case on behalf of CipherTrace.        And we did not disclose

 3        any of the information until CipherTrace's counsel reviewed the

 4        protective order, and it's our understanding everybody who has

 5        worked on this has reviewed the protective order.

 6                    We thought it would be sufficient that the counsel

 7        for CipherTrace would sign on behalf of those people; the idea

 8        being that a corporation is a person, too.            But we're more than

 9        happy -- because I've got records of when the protective orders

10        were sent -- to just have every single person who has touched

11        this and reviewed it to sign it.

12                    THE COURT:   I think that should happen.           How many

13        people are we talking about?

14                    MR. EKELAND:   It's a handful.          I don't know the exact

15        number off the top of my head.

16                    THE COURT:   When you say handful, I'm thinking three,

17        four, maybe five?

18                    MR. EKELAND:   I think that's, roughly, the number

19        I've got.   I was looking at the files last night.

20                    We've been very, very careful with this information

21        and the protective order and the signing of it.              We've made it

22        clear to anybody who is working on this case that they're bound

23        by the protective order, that they must read it before they

24        touch anything and sign it.

25                    And in the case of CipherTrace, we thought it would
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 1        be sufficient that the counsel for the company sign it.                But

 2        I've got a record of everybody; I could just go when I'm done

 3        here today and send it all out to have them DocuSign.

 4                   THE COURT:    Well, I guess my view at this point is I

 5        would very much appreciate it if CipherTrace could do

 6        everything in its power to get past its issues in this case in

 7        order to allow Ms. Still not only to be a witness in the case,

 8        but to allow her to be a witness who has had the opportunity to

 9        review all relevant information.        But, ultimately, that is a

10        question between the defense and the defense expert.

11                   I have made clear that I'm prepared to do whatever is

12        necessary to assuage the concerns.         I think the government is

13        prepared to work with us in that.         And I assume, for example,

14        Ms. Pelker, that if I were to ask the government to make office

15        space available and a computer that could be wiped afterwards,

16        that that could be done in a way that would allow Ms. Still to

17        come and do whatever she needs to do on mutual ground.

18                   MS. PELKER:    Yes, Your Honor.           We will have to figure

19        out the logistics, but I'm sure that we can talk with

20        CipherTrace and Chainalysis, and they can -- we can all come up

21        with a solution.

22                   THE COURT:    If you all want to come and do it in my

23        jury room, that's fine too.        I mean, I'll make space available

24        if you want neutral ground for that as well.

25                   Someone has to make available, perhaps, a computer
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 1        that can be wiped afterwards to everyone's satisfaction and

 2        have just a computer tech who can look at it and make sure that

 3        it's been wiped so that the government and Chainalysis don't

 4        have access to any work product by Ms. Still; and, vice versa,

 5        Ms. Still doesn't have access or doesn't bring back with her

 6        proprietary information in a way that would raise the concerns

 7        that CipherTrace has with respect to, potentially, exposing

 8        themselves to a suit.

 9                   MS. PELKER:    I believe we still have our clean jury

10        laptop since we hoped to be in trial.

11                   THE COURT:    So I think that -- I appreciate Mr. Jay

12        being here, and I appreciate your working with us --

13                   MR. JAY:    Thank you.

14                   THE COURT:    -- on this.      I hope that you're able to

15        work something out with the defense, although I think it is

16        between the defense and its expert at this point.

17                   I've made clear that I'm prepared to do whatever is

18        necessary, within reason, to accommodate the concerns of

19        everyone involved and make sure that Chainalysis's information

20        isn't used to compete against Chainalysis, but also to make

21        sure that CipherTrace isn't exposed to suit baselessly.

22                   MR. JAY:    Thank you, Your Honor.

23                   THE COURT:    Thank you.

24                   MR. EKELAND:    I'd just raise one thing that I

25        honestly don't know the answer to because Ms. Still hasn't
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 1        looked at this information, and that is just we don't know the

 2        amount of time it's going to actually take her to evaluate this

 3        information.

 4                   One of the reasons that she was relying on her team

 5        at CipherTrace is, as I believe the government said, there's,

 6        like, 900,000 addresses.     Some of these matters need to be

 7        entered manually.     So I just don't have a sense if, say, we do

 8        figure out this whole thing with the clean laptops and a room,

 9        when she finally gets to look at it, what amount of work is

10        going to be involved.     And I just want to note that for the

11        record.

12                   THE COURT:    Okay.     Yeah.   I have to say, you can note

13        that for the record.     But I think the course of events here,

14        frankly, shows me that the defense has not been moving, once

15        again, as quickly as it can or following what I've been

16        suggesting.

17                   And the notion that, as Ms. Pelker noted, that it

18        appears at least the counsel for CipherTrace for the first time

19        is hearing the suggestion that I made days ago about how we

20        might address this problem -- and there were ways to address

21        these issues long ago.

22                   I mean, in fact, it really should have been addressed

23        even before the information was disclosed because you

24        acknowledge, of course, there would have to be a protective

25        order to protect the proprietary information, and there already
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 1        was a protective order in the case.        This is not a -- didn't

 2        come as a surprise.     But we are where we are on this.

 3                     I think that the defense has not done what it has had

 4        to do for a long, long time.       And as I said, it goes back to

 5        June when I said you need to find an expert, you need to find

 6        somebody who can tell us why they have to look at this

 7        information in specific.     You need to tell us -- over the

 8        summer, I said we need a protective order; you agreed we needed

 9        a protective order.     And just none of that happened.

10                     But that does bring us to the question of trial date.

11        And I did have some follow-up questions with respect to the

12        October trial date.     First of all, it says Ms. Still is not

13        available.    Quite frankly, I looked at all of her conflicts,

14        and they -- they are business development actions, by and

15        large, where I'm confident that her calendar always looks like

16        that.

17                     It's hard for me to believe that there are not other

18        people at CipherTrace who could, if need be, substitute for her

19        for a few days on one of those many trips.

20                     And then with respect to Dr. Dror and Mr. Fischbach,

21        I'm still at a little bit of a loss as to why and whether, in

22        fact, Mr. Fischbach is just utterly unavailable until

23        November 24th and when that unavailability began because under

24        the prior schedule, he wasn't going to be in a position to

25        testify until sometime in probably mid-October anyway because
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 1        the government had to put on its case first; or at least it

 2        would have been in October before he would have been -- the

 3        defense would have been calling its witnesses, in any event.

 4                   MR. EKELAND:    It's my understanding that on the

 5        initial schedule we were anticipating ending sometime around

 6        October 10th.

 7                   THE COURT:    Right.

 8                   MR. EKELAND:    And that we would find some time to --

 9                   THE COURT:    When does the trial that he's involved in

10        begin, in Missouri, I think?

11                   MR. EKELAND:    I don't have the exact date in front of

12        me.

13                   THE COURT:    I might.     Let me see.

14                   MR. EKELAND:    I can get it for the Court.

15                   THE COURT:    Well, you didn't provide it to me

16        previously.

17                   MS. PELKER:    I believe previously defense counsel had

18        indicated it was starting on -- sometime in mid-October.

19                   THE COURT:    The date you provided was October 10th,

20        but I'm not sure that's when he's unavailable.            That's just

21        like from the beginning of the window that I raised.                 I'm not

22        sure that that's when the trial actually began.

23                   MR. EKELAND:    It was my understanding, from what my

24        experts told me, they would be available for the original trial

25        date.   And then when the issue of the continuance came up,
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 1        which happened rather fast, we were discussing it, we realized

 2        we better check with our experts, and that's when we started

 3        getting information about --

 4                     THE COURT:   What is the name of the case that he's

 5        involved in?

 6                     MR. EKELAND:   I don't have it in front of me right

 7        now.

 8                     MR. HASSARD:   I can get it.

 9                     THE COURT:   If you can get that for me.        I'd,

10        actually, like to look.     I don't know what the judge's trial

11        calendar is in that case, whether he's sitting every day.               If

12        there are portions of that case that Mr. Fischbach feels he has

13        to sit in on so that he can provide expert testimony in

14        response, there probably are portions that he doesn't have to

15        sit in on.    So we may have to just drill down a little bit more

16        on that.

17                     With Dr. Dror, again, I don't really have any

18        specificity of why he's not available for a month and a half.

19        I guess he's available on two days, November 6th and 7th.

20                     Part of this is I'm wondering whether what we're

21        dealing with here is the absolute unencumbered convenience of

22        witnesses or whether people are truly unavailable.            When we

23        come time to pick a jury and I tell the jurors they're going to

24        have to sit for a month, there are going to be jurors who are

25        going to say, oh, I was planning on going on a trip.                I'm going
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 1        to say, "Do you have nonrefundable tickets or not?"               And

 2        they're going to say, "Oh, I can refund them."             I'm going to

 3        say, "Okay.   I need you to sit."        There are going to be people

 4        who are going to say, "I am going to miss work because of

 5        this."    I'm going to say, "I'm sorry.         You have to miss work.

 6        That's one of the obligations of being a citizen."

 7                    The same thing with respect to witnesses.             It's just

 8        less convenient for Dr. Dror, for example, because he has other

 9        things on his plate that he might have to shuffle.              I'm not

10        sure that's an adequate basis for concluding that we have to

11        continue a trial for a lengthy period of time.

12                    So I just don't feel I have that sort of specificity

13        yet.   Quite frankly, I'm also not 100 percent confident when

14        you say to me, Judge, they're just unavailable; we checked with

15        them, they're unavailable.       Because you originally said to me

16        that none of your witnesses were available at all during that

17        period of time, and that turned out to be just not true.

18                    MR. EKELAND:     Your Honor, I was just relying on what

19        was quickly said to me, so I apologize for that.              I did

20        immediately, I think, look into that and provide the Court with

21        the schedule.       That wasn't intentional.

22                    You know, this was moving fast.           We -- this whole

23        issue of the continuance --

24                    THE COURT:     If I can say -- just pause there for a

25        second.   The better course is, if you're not sure of something,
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 1        say you're not sure to the Court rather than give the answer

 2        that's convenient and then go back and check later.

 3                   MR. EKELAND:    I thought that was accurate when I said

 4        it, and then I learned that it wasn't, Your Honor.

 5                   THE COURT:    Okay.     Fair enough.      All I'll say is it

 6        was -- it made me scratch my head the second you said it.              I

 7        would be a little surprised if you didn't scratch your head if

 8        someone whispered that in your ear to say, "Really, not one of

 9        our witnesses is available for an entire month?"

10                   MR. EKELAND:    They're very busy professionals, and

11        they've been hard to get.     It's been a challenge with this case

12        to find good experts and --

13                   THE COURT:    But an example is I did look at the more

14        detailed statement from Ms. Still.         You know, it's just hard

15        for me to believe that you have an expert of her caliber who

16        isn't going to have a calendar that looks like that and where

17        people all the time have their deputy or someone else in the

18        company attend a seminar on their behalf that otherwise they

19        would go to, for example.

20                   MR. EKELAND:    Understood, Your Honor.          She made

21        herself available for the original trial date.            I think she's

22        represented she's available in February.

23                   I think one of the questions now about the schedule,

24        honestly, is figuring out if we can get this idea of a neutral

25        laptop and a neutral room and her evaluating the stuff and how
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 1        long it's going to take her to evaluate that stuff.             We still

 2        have the briefing issue on whether or not Mr. Sterlingov is

 3        going to be able to see this evidence.

 4                   I have no idea what she's going to say or need to do

 5        when she looks at this.     And the Court has ordered, I believe,

 6        supplemental expert reports which -- on that --

 7                   THE COURT:    Yes, I did, that's true.

 8                   MR. EKELAND:    Assuming -- well, I can't assume.          I'm

 9        hoping that those due dates will change and that we can work

10        something out with the government and with CipherTrace that's

11        amenable to the Court where this information can be reviewed

12        and incorporated into the case in a supplemental report that's

13        useful to the Court.

14                   Because I also, if I recall correctly, the Court said

15        that it was holding off on ruling on the Daubert motions in

16        relation to Chainalysis Reactor, if I'm recalling correctly,

17        until after those supplemental reports.

18                   THE COURT:    Well, to give you the opportunity to

19        submit them.    If there's nothing to submit, then I'll just

20        rule, but I did want to provide you with that opportunity.

21                   MR. EKELAND:    We would like that opportunity and

22        we're hopeful that -- you know, coming into this, I didn't -- I

23        thought that just this proprietary issue from CipherTrace was

24        just a nonstarter.     Now we can see that there's an option here.

25        So I'm hoping we can figure something out, that Ms. Still can
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 1        review this stuff in a way that's amenable to CipherTrace and

 2        Chainalysis Reactor, and issue a supplemental report that's

 3        beneficial to the Court in making its decision.

 4                   THE COURT:     All right.     Well, I would like to know

 5        more specifics.     Maybe I have to, actually, talk to

 6        Mr. Fischbach and Dr. Dror.         I find that the game of telephone

 7        is not working terribly well, and I think talking, frankly, to

 8        Mr. Jay has been very helpful to the Court.             And maybe we just

 9        need to get Ms. Still, Mr. Fischbach, and Mr. Dror on Zoom to

10        talk about scheduling.

11                   Because I would have hoped that you would have done

12        the pushing back or testing on schedule that I would intend to

13        do and ask people, "Well, can you change that?"              And, "Is that

14        cast in stone?      Is there someone else who can cover that for

15        you?"   It's not evident to me that that's been done.

16                   And with respect to Mr. Fischbach, it's not evident

17        to me that he's going to be needed every day at this other

18        trial for over a month.      I'd like to know the trial name, and I

19        can even check, if need be -- if it's federal court -- with the

20        judge out there to figure out what the schedule is in that case

21        and see if I can determine what's going on there.              Whether

22        Mr. Fischbach is needed every day in that case or whether

23        there's going to be some days where, if the judge isn't sitting

24        or the Court is not sitting, or where the parties anticipate

25        the testimony is going to be an issue just unrelated to
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 1        anything Mr. Fischbach is concerned with -- I assume not

 2        everything in that case is going to deal with forensics.

 3                   I don't know anything about the case, but few cases

 4        are 100 percent forensic cases, so I do feel a need to drill

 5        down on that.

 6                   The other thing is, if we're unable to go with the

 7        October date, I think I do see one other possibility, which is

 8        I have a defendant in a case who has absconded and, therefore,

 9        I'm not going to be able to go to trial in that case, it

10        appears.   And so I could have availability for November 27th

11        through December 22nd if we're unable to go with the October

12        date.

13                   Obviously, the concern about that is it pushes up

14        against the holidays where, one, we may lose some jurors if you

15        get too close to the holidays.       And we'd really have to be able

16        to make sure that we could finish or we'd have to adjourn and

17        send the jurors home for a week and then come back in January

18        if we didn't really finish as we had hoped.           So that's another

19        possibility if we're not able to go in October.

20                   But before I get to that point, I really would like

21        to better understand what the issues are with respect to

22        Dr. Dror and Mr. Fischbach and Ms. Still, and I'd welcome

23        suggestions about how to best get to the bottom of that.            I

24        think maybe just having a conversation with them is the best

25        way to do it probably.
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 1                   I would encourage you, Mr. Ekeland, to work with

 2        CipherTrace and the government and Chainalysis as quickly as

 3        possible to get Ms. Still access to this material along the

 4        terms of what I've discussed.      Perhaps -- I don't know why that

 5        couldn't happen by Monday.     There's not a ton to work out to

 6        make that happen.

 7                   So I would just encourage everyone to move as quickly

 8        as they can.    And if you need me to modify any protective

 9        orders, to issue any orders, to provide any facilities to allow

10        this to happen, just let me know.        I'm around.

11                   All right.    Anything else, Mr. Ekeland?

12                   MR. EKELAND:    I just want to -- just so I'm clear on

13        the steps with Dr. Dror and Mr. Fischbach and Ms. Still in

14        terms of the scheduling, does the Court want us to go talk to

15        them and then -- or does the Court, actually, want them to

16        appear via Zoom for a Zoom hearing to address the issues?

17                   THE COURT:    Well, I'm interested in your suggestion,

18        and then I'll hear from the government's suggestion about that.

19                   MR. EKELAND:    I'm happy to go back and talk to them

20        and maybe -- if they are adamant about their unavailability on

21        these dates, then perhaps we schedule a Zoom hearing where the

22        Court can talk to them.

23                   I mean, I think just my biggest concern from the

24        defense side is just the amount of time it would take to review

25        the latest heuristic information, which I don't have any sense
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 1        of.   I know that if it's going to be done from a room in D.C.,

 2        Ms. Still lives on the West Coast, and she's traveling a lot.

 3        If it's something that can be done virtually, that is going to

 4        speed things up.    I just don't have a sense of --

 5                   THE COURT:    Maybe it's something that can be set up

 6        in California or wherever she is as well.            I don't know the

 7        answer to that.     You'd have to consult with the government and

 8        Chainalysis about that.

 9                   MR. EKELAND:    We'll work on that.          That's something

10        we can -- for everybody to talk about.         I'll reach out and --

11                   THE COURT:    I also, though, suspect given

12        Ms. Still's -- the nature of her job, I suspect she's on the

13        East Coast a fair amount?

14                   MR. EKELAND:    She travels all over quite a lot, like,

15        extensively.    I just don't -- I don't know the vagaries of all

16        of that in relation to reviewing stuff.             I'm just going to have

17        to -- we're just all going to have to talk on that front.

18                   THE COURT:    All right.    Ms. Pelker?

19                   MS. PELKER:    So I think the government's just

20        concerned that we are going to continue being in the same

21        holding pattern of not knowing whether we're going on

22        October 10th, not knowing whether we're going right after

23        Thanksgiving.

24                   Looking at Ms. Still's representations about her

25        travel schedule previously -- and I think that the Court raised
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 1        this -- it's not clear to the government, if she's claiming

 2        that she's going to adhere to this travel schedule, when she

 3        would even be available to do the in-person review.

 4                   And the question is just, is Ms. Still going to

 5        continue to be the defense expert on this case?            In all candor,

 6        the government very much wants Ms. Still to just stay on as an

 7        expert.   We can go to trial with Ms. Still whether she reviews

 8        the new material or not.

 9                   But just looking logistically, if she's saying that

10        she is not available for any trial beginning October 10th

11        because she can't do anything the entire month of October and

12        November, it's not clear when she's doing this sort of review,

13        and then we look at a real issue of even sticking to the

14        February trial date.

15                   Because defense is going to say that they need more

16        time; they're going to keep trying to push out the deadlines

17        for the reports.    I think that we just need a very firm, clear

18        deadline of when it is that government, defense, CipherTrace,

19        Chainalysis are going to work something out.           And if

20        CipherTrace isn't okay with the agreement, then that's their

21        decision and defense's decision just not to review the

22        material, and we just need to go forward with what we have or

23        not.

24                   THE COURT:    So I don't disagree with you as to

25        anything you've just said.     I think the only question that
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 1        remains, though, is, okay, what do I do in light of all of

 2        that?   Do I just say, we're going to trial in October no matter

 3        what even if Mr. Fischbach is truly, in fact, absolutely

 4        unavailable and even if Dr. Dror isn't available until

 5        November 6th -- which may be after we're done with the case --

 6        and Ms. Still truly is not available just going forward, or do

 7        I need to get to the bottom of that?

 8                   Or should I just pick the November to December date

 9        or the February date and say, categorically, we're sticking to

10        this.   I have given the defense extension after extension,

11        break after break; this is it.       I'm telling you, absent some

12        type of national calamity, we're going forward.

13                   MS. PELKER:    I think the government would still

14        really push for the October date.        Looking at Ms. Still's

15        conflicts, these are training conferences and business

16        development that, like Your Honor said, could easily be staffed

17        by someone else at CipherTrace.

18                   And the idea that Mr. Fischbach couldn't fly in for a

19        day -- our understanding is that the trial is in Kansas City.

20        He can just fly directly from Kansas City into DCA, testify --

21        I understand defense is going to want prep time.            There has to

22        be a day that he can come in and testify.

23                   THE COURT:    I just --

24                   MS. PELKER:    The government still doesn't think that

25        Dr. Dror's testimony is relevant.        But also, defense is the one
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 1        who chose this expert, who is based in the UK and has this

 2        amorphous availability.

 3                   THE COURT:    Dr. Dror, I have to tell you, the defense

 4        raised the possibility of him testifying remotely.            If that

 5        were acceptable to the government -- and I haven't passed on

 6        that, whether I allow it or not.       If the government were to

 7        agree to him testifying remotely, given the time difference

 8        between here and the UK, it's hard to believe that he couldn't

 9        appear to testify here and that he would have obligations that

10        would preclude him from testifying at what would be 9:00 p.m.

11        or 10:00 p.m. in the UK.

12                   I still need, I think -- Mr. Hassard perhaps can tell

13        me this.   Do you know the name of the case that Mr. Fischbach

14        is involved in?

15                   MR. HASSARD:    Yes.    He's involved in KS v. Chandler

16        from October 16th to November 10th; and in CA v. Morgan

17        November 13th to November 23rd.       I believe those are referring

18        to Kansas and California.

19                   THE COURT:    I'm sorry.    One is in Kansas and one is

20        in --

21                   MR. HASSARD:    One is Kansas, the other one is

22        California.   It's Kansas v. Chandler and California v. Morgan.

23                   THE COURT:    Is it Kansas or is it KSV v. Chandler?

24                   MR. HASSARD:    It's KS.

25                   THE COURT:    Oh, I see.    Kansas v. Chandler.
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 1                   MR. HASSARD:    October 16th to November 10th.           And

 2        California v. Morgan, November 13th to November 23rd.

 3                   THE COURT:    Kansas v. Chandler sounds like it's

 4        probably a criminal prosecution brought in state court.             Do you

 5        have a docket number for that, by any chance?

 6                   MR. HASSARD:    I don't, but I can get it for you.

 7                   THE COURT:    Okay.

 8                   MS. PELKER:    And the government will check with its

 9        witnesses, but we'd just ask that the defense also check with

10        their witnesses on availability.       And I know that the Monday

11        after Thanksgiving until the Friday before Christmas is going

12        to be tough for witness availability, but we --

13                   THE COURT:    Is your preference to do -- if I conclude

14        that we're not ready to go in October, is your preference to do

15        the earlier date or just to wait until February and just say

16        let's lock that in and that's done and that is final?

17                   MS. PELKER:    We would just have to check with our

18        witnesses, Your Honor.     We can call them -- if we wanted to

19        take a 15-minute recess, we can try and call them and check.

20        We had not thought that the December window would be a

21        possibility, but we can check with them.

22                   THE COURT:    I would like to take maybe even a little

23        bit more than a 15-minute break.       I really do want to pin this

24        down.

25                   It is ten minutes of 11:00 now.          What if we take a
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 1        break with until a quarter of 12:00.           You can do your best to

 2        reach your witnesses and, Mr. Ekeland, if you can give me

 3        greater specificity about Dr. Dror and Mr. Fischbach and

 4        Ms. Still about October or -- and November, November to

 5        December, about all that.      And I really want to know how cast

 6        in stone those dates are.      And you can let them know that I may

 7        want to, actually, hear directly from them if I'm uncertain

 8        about that -- about whether any of the dates have any

 9        flexibility at all.

10                   And then, Mr. Jay, if I could ask you, in the

11        meantime, if you could reach out to your client, perhaps just

12        to get at least some initial feedback on whether the

13        accommodation that I proposed is something that you think is

14        potentially workable and whether we can -- whether we should be

15        spending the time and effort finding some neutral ground to do

16        this along the lines that I've discussed, or whether your

17        client is going to come back to you and say, no, under no

18        circumstances.      You could even rip up the protective order and

19        you could disclose it just to Ms. Still under the most secure

20        circumstances, we are never under any circumstances going to

21        let her look at this; that would be helpful for us just to know

22        that.   We can use that for purposes of our planning.

23                   MR. JAY:     Yes, Your Honor.       I'll do that.

24                   THE COURT:     Okay.     Thanks.    Why don't we take that

25        break, and if you-all can use it as best you can to try and
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 1        contact as many people as you can.        I'm hopeful you'll be able

 2        to do as much as possible.

 3                    And then when we come back, I'd like to set a trial

 4        for one of those three dates and be firm about it, and we're

 5        just going to stick with that and go forward.             Because this

 6        isn't the way the system is supposed to work, and it doesn't

 7        reflect well on the system to just be engaged in a constant

 8        process of changing things, revising things.

 9                    I think that it's important that we just have some

10        certainty about this and report.

11                    MS. PELKER:   The government would just ask for the

12        record that if it does end up being the February date, that

13        defense has a conversation with their client and understands

14        that the government is going to oppose any new expert coming

15        in.

16                    If something comes up with Ms. Still between what

17        would be the October date and February, the defense has had

18        their chance to put forward an expert and have an expert

19        report.    If CipherTrace now comes back and decides they're not

20        comfortable with Ms. Still's work continuing on this case for

21        the next five months, that's -- we can't keep going through

22        more Daubert hearings.

23                    THE COURT:    I think that Mr. Sterlingov has heard you

24        on that.   That's your position on that.            I think you've made

25        that clear to him.     Yes?
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 1                     MR. EKELAND:    I would just ask the same of the

 2        government, that they don't -- we'd just ask for the record the

 3        same of the government, that there's no new experts coming.

 4                     THE COURT:   I'm happy to have a rule.         If you all are

 5        in agreement on this, I'm happy to categorically say no new

 6        experts.

 7                     MR. EKELAND:    Yes, Your Honor.

 8                     THE COURT:   Okay.    That's adopted then.       No new

 9        experts with the consent of the parties -- at the request of

10        the parties.

11                     Thank you.   I will see you all after you've had a

12        chance to make some calls.

13                   (Recess taken.)

14                     THE COURT:   All right.    What has everyone learned

15        over the break?     Why don't I go ahead and start with Mr. Jay.

16        Any update?

17                     MR. JAY:   Good morning again, Your Honor.

18                     THE COURT:   Good morning.

19                     MR. JAY:   Yes.   I have preliminarily conferred with

20        my client.    We believe that CipherTrace wants to be helpful

21        here and is willing to do what it needs to in order to be as

22        helpful as possible.

23                     I believe that -- and we can confirm this by tomorrow

24        with defense counsel.       But that we would take Your Honor up on

25        the suggestion of a clean room for review of the additional
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 1        material subject to it being subject to the existing protective

 2        order at Docket 18, and at least some agreement or

 3        acknowledgment from Chainalysis that, as long as CipherTrace

 4        follows the provisions and abides by that protective order,

 5        they do not intend to bring any kind of lawsuit against us,

 6        against CipherTrace.     That's the first point.

 7                   THE COURT:    So that, obviously, is beyond my control.

 8        Obviously, I mean -- let me put it this way.

 9                   If I were counsel for Chainalysis, I, obviously,

10        wouldn't say I'm not going to bring any lawsuit against

11        CipherTrace for anything, writ large, because who knows; maybe

12        CipherTrace was going through the garbage at Chainalysis in the

13        back of the alley, you know, stealing trade secrets.

14                   If what you mean by that more likely is that if

15        Ms. Still reviews the material in a clean room, she doesn't say

16        or describe what she's seen to anyone else at CipherTrace and

17        she is not involved in developing any new products, any

18        algorithms, any code or anything like that, then it seems to me

19        the risk of any lawsuit is -- the risk of any nonfrivolous

20        lawsuit is vanishingly small, if that's what the request is.

21                   MR. JAY:    That is --

22                   THE COURT:    I can't make Chainalysis say anything.

23        But you will have a federal judge on record -- you can tell

24        your client that a federal judge on record saying that any

25        lawsuit that was brought based on Ms. Still's review of the
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 1        material in a clean room, if she does not disclose that

 2        material or use it for any purposes other than this litigation,

 3        would be frivolous.       I think that's a statement I am happy to

 4        put on the record because I believe that to be the case.

 5                     You can't sue somebody for complying with a court

 6        order to review something in a secure way where it's not going

 7        to be used in any manner that is anti-competitive.

 8                     MR. JAY:    That's exactly what I was getting at, Your

 9        Honor.   You put it much better than I did.

10                     THE COURT:    Let me put it this way.        I've said this

11        on the record.      If for some reason Chainalysis disagrees with

12        that, Chainalysis can tell us that it disagrees and why.

13                     It seems to me that's a fairly self-evident

14        statement.    Okay.

15                     MR. JAY:    The other two points, Your Honor.            First

16        off, we will have all of the people who have worked on the

17        expert report individually sign the protective order.                 The

18        government raised that point.        And we will have that done

19        promptly --

20                     THE COURT:    Thank you.

21                     MR. JAY:    -- working with defense counsel.

22                     And the final point, Your Honor, is I received

23        assurances from my client that they will do everything they can

24        to make sure that Ms. Still has time to promptly review this

25        material and then to appear at trial.
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 1                     THE COURT:    That is most appreciated.         So thank you

 2        very much.    You've been helpful here.       Thank you.

 3                     Does that include being prepared and available for

 4        trial in October?

 5                     MR. JAY:   That does, Your Honor.

 6                     THE COURT:    All right.   Thank you.

 7                     MR. JAY:   Again, I have to asterisk that a little

 8        bit.   We don't know what the additional data is.             But so long

 9        as it's reasonable, yes, that October date would be available.

10                     THE COURT:    All right.   Thank you.       Ms. Pelker, you

11        want to pick things up.

12                     MS. PELKER:   Yes, Your Honor.         The government thinks

13        it's a very positive development and puts us well on track for

14        the October 10th trial date.       We did have an opportunity to

15        very briefly talk with Chainalysis counsel who expressed their

16        concerns that, to the extent that we are modifying any of the

17        terms from the new amended protective order, that would be

18        viewed as making -- as alleviating any of the restrictions on

19        the use of the information, that they would be strong- --

20        understandably strongly opposed to that and just don't want to

21        end up in additional protracted protective order litigation.

22                     THE COURT:    So here's what I propose doing with

23        respect to that.

24                     I will enter a minute order clarifying that the

25        original protective order applies to each individual who
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 1        receives access to information pursuant to the protective

 2        order.   Each individual who receives access must sign the

 3        acknowledgment, as we've discussed today, and clarifying what I

 4        believe to already be the case, but clarifying that the

 5        protective order precludes anybody who receives sensitive

 6        information pursuant to the protective order may not disclose

 7        that information to anyone else who is not also subject to the

 8        nondisclosure obligations under the protective order and may

 9        not use that material or information for any purpose whatsoever

10        other than this case, which I think addresses the concerns, and

11        I think it's what the original protective order provided.           And

12        I don't think it differs in material respects from the

13        subsequent protective order.

14                   But I'm happy to be clear about that, and I can do

15        that in a minute order on the record.         And then if Chainalysis

16        has further concerns, they can raise that with me.            But I do

17        think that that addresses any issue, and I think it's

18        consistent both with the original protective order and the

19        subsequent one.

20                   MS. PELKER:    I agree, Your Honor.        I think that --

21        just the other one point, that it sounds like CipherTrace

22        wants, possibly even more than the government does, is a

23        restriction on taking any of the information provided in this

24        new highly sensitive production and putting it back on

25        CipherTrace's systems.
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 1                   So it sounds as though they don't want to do that.

 2        We just would want a protective order that specifies that.

 3                   THE COURT:    Mr. Jay nodded his head yes as you were

 4        saying that.    Why don't I do that right on the record now.

 5                   I will order that the disclosure of the most recent

 6        production from Chainalysis to the government and then to the

 7        defense of the heuristics and the related material may be

 8        disclosed to Ms. Still and anyone working with Ms. Still who

 9        signs the acknowledgment under the original protective order

10        with my clarification as to what that means.           But that

11        information shall not -- the data and files shall not be taken

12        into the possession of CipherTrace, and none of those materials

13        shall be loaded onto any CipherTrace computer system.

14                   MS. PELKER:    Your Honor, one point there is just

15        that, to the extent that anyone working with Ms. Still seems to

16        invite the possibility for Ms. Still and defense counsel to

17        bring in other individuals who may give rise to the same

18        concerns that some of the previously proposed individuals who

19        defense had suggested could review the materials.

20                   THE COURT:    What I meant by that was another employee

21        of CipherTrace.     Again, Mr. Jay is nodding his head.             It's just

22        if she needs some technical assistance in loading something

23        onto the clean computer, wiping of the clean computer, entering

24        data or something of that nature.

25                   I think we at this point in time are pretty clear
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 1        that CipherTrace has a very strong interest in not exposing

 2        anyone who may be used in developing their own programming to

 3        that type of restrictions.

 4                   MS. PELKER:    Yes.     I understand the Court's intent.

 5        I just wanted to make sure that the language --

 6                   THE COURT:    Thank you.

 7                   MS. PELKER:    Your Honor, I think with this put in

 8        place -- and the government will work with CipherTrace,

 9        defense, and Chainalysis to ensure that Ms. Still has an

10        opportunity to review this as quickly as possible -- we still

11        have three weeks before the October trial date, and we think

12        that, with this issue now on track to be addressed, and it

13        sounds as though this will also address a fair amount of the

14        defense witness availability concerns, that there's nothing

15        standing in the way of us being able to move forward with an

16        October 10th trial date.     It sounds like Ms. Still can,

17        hopefully, be available.

18                   It is a long trial period, and there's a fair amount

19        of flexibility as far as exact timing for witnesses.

20        Mr. Fischbach, we understand, may be in trial for some portion

21        of that.   Certainly, at some point within the month-long trial

22        period, the time period for the defense case, Mr. Fischbach can

23        come in for the day.

24                   It doesn't sound as though the defense has really put

25        forward any true showing of witness unavailability for the
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 1        entire time period.

 2                   THE COURT:    Would you be amenable if the defense were

 3        to request to take a witness -- a defense witness, actually,

 4        during the government's case if it turns out that Mr. Fischbach

 5        is only available during your case and the defense asks, can we

 6        offer him sometime before you rest, is that something the

 7        government would be open to?

 8                   MS. PELKER:    I think we'd want a very clear showing

 9        of exactly why that was the only possibility or option.             I'd

10        have to talk with my co-counsel.

11                   If that were truly the only thing that were standing

12        in the way of us going in October, we would just want the

13        record to be clear of exactly why that was the case, but I'm

14        happy to take it back to co-counsel to discuss.

15                   THE COURT:    All right.    Thank you.      Mr. Ekeland?

16                   MR. EKELAND:    Your Honor, one concern that the

17        defense has about the use of the data is -- my concern is it --

18        that Ms. Still is going to want to be able to use Inspector to

19        do, say, simple traces or confirming data.

20                   I don't know what she might want to do to check the

21        stuff, but I think the way I'm hearing it now and what my

22        concern is, is that it's simply going to be limited to looking

23        at the data in the room and that that's going to exclude her

24        from being able to use CipherTrace Inspector.

25                   Now, I don't know if she's -- without her having
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 1        looked at that, I'm not going to know what she's going to want

 2        to do.

 3                   THE COURT:    So if it turns out that there are

 4        particular addresses that she wants to run through -- or

 5        particular addresses, I suppose, that she wants to run through

 6        CipherTrace's software, you or she can just come back to me at

 7        that point in time and say, we're not disclosing anything

 8        that's proprietary here.     There's just these hundred addresses,

 9        and we'd like to run them ourselves, these hundred addresses,

10        and see if we get the same results.        Just come back to me with

11        that.

12                   MR. EKELAND:    Essentially, anything she wants, we'll

13        come to the Court before.     So the understanding will be she'll

14        go and look at the stuff, and if she needs to use Inspector for

15        anything, we'll come to the Court for the Court's permission

16        beforehand.

17                   THE COURT:    Yes, correct.     My only concern here,

18        which I think is the same concern that CipherTrace has, is just

19        making sure that there's no disclosure of proprietary

20        information.    So if it's just a group of addresses, my

21        suspicion is that's not going to be a problem.

22                   MR. EKELAND:    Yeah.   Understood.      I mean, the concern

23        is -- again, without having her look at it, there might be a

24        gray area or something where we just need to --

25                   THE COURT:    Let me say this with clarity.          If there
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 1        is a gray area in any of this, come to me first rather than

 2        sort of making any assumptions about what I might think.            I am

 3        100 percent available.     And if you have any questions, you're

 4        uncertain about anything, it's always safer, frankly, to ask

 5        first because this is not a circumstance in which the aphorism

 6        that it's better to act and apologize rather than ask first,

 7        this is not an example of that.       It's much better to ask first.

 8        So any uncertainty, just come to me.

 9                   MR. EKELAND:    With that in mind and with everything,

10        you know, that's happening in setting up the clean room and the

11        supplemental expert report and the briefing on whether or not

12        Mr. Sterlingov can review the evidence as well and what

13        we've -- Mr. Hassard has more details on the schedules.

14                   I know Ms. Still is available in October and, I

15        think, December.    And Dr. Cabanas, I think, is available in

16        October and for the November, December dates.           I think -- and

17        Mr. Hassard has more information and details; he's got the

18        docket numbers on the cases.

19                   I think the issue we're having is with

20        Mr. Fischbach's trial schedule in October, but I do think he

21        would be available in December and, of course, everyone is

22        available in February.

23                   My one hesitation about -- or concern about the

24        December date is if we -- looking at that, we start

25        November 27th, I believe the Court said, and then we
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 1        potentially, maybe, are resting, like, right before the

 2        holiday.   I am concerned about the jury being out for a week.

 3                   I understand the Court's concern with wanting to

 4        bring this to trial as soon as possible, but I think October is

 5        difficult for some of our experts, like we discussed before.

 6        Mr. Hassard has more information on that.

 7                   December seems fairly open, and then February, as we

 8        said before, I think, everyone is available.

 9                   THE COURT:    All right.    Mr. Hassard, let me know what

10        else you have.

11                   MR. HASSARD:    So during the break I contacted each of

12        our experts and inquired as to their availability for the time

13        period from November 27th to December 22nd, and I have the

14        results from that.

15                   JW Verret, he can make himself available at any time

16        during those dates.     Francisco Cabanas, Dr. Francisco Cabanas,

17        can make himself available for any time during those dates.

18        Dr. Dror is unavailable to testify in person between

19        November 27th and December 22nd, but he is available for remote

20        testimony on December 4th, 8th, 11th, 12th, 13th, 14th, 15th.

21                   Jonelle Still will be training Euro Pol until

22        December 5th, after which she has some flexibility.             She's

23        supposed to be taking a mental health break.           It's ordered by

24        CipherTrace.    So she's expecting to be off at that time period.

25                   And as for --
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 1                   THE COURT:    I'm not entirely sure what that means.            I

 2        mean, whether she actually is suffering from some -- I also

 3        would like to take a mental health break.           We put in very long

 4        hours and would be -- probably would be much better at my job

 5        if I took a couple of weeks off, but that doesn't mean that I

 6        can push trial schedules around for that reason.

 7                   But on the other hand, if she really is suffering

 8        from some medical condition or related condition, that's a

 9        different matter.

10                   MR. HASSARD:    As I understand it, mental health break

11        time periods are enforced by CipherTrace.           They want their

12        employees to be fresh, so they encourage employees to take time

13        off.

14                   THE COURT:    I mean, I will propose that to the

15        judicial conference.

16                   MR. HASSARD:    As for Jeff Fischbach, I'd like to

17        correct the record.     The California trial is a federal trial,

18        not a state trial.     The docket is 21-CR-00094.        It's TLN,

19        United States v. Morgan.     It begins November 13th.         And

20        Mr. Fischbach expects it to last until November 23rd, which

21        would then give him the last week of November to be available

22        during the time period that I've asked him about.

23                   He does think that maybe it will extend into

24        December, meaning that his availability won't open up until

25        December, but he has stressed upon me that he has plans with
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 1        his family in December and that he would really prefer to be

 2        available to attend to his family matters after he completes

 3        the trial in California.

 4                    THE COURT:   Okay.     What about his availability in

 5        October?

 6                    MR. HASSARD:   The October date, that will be the same

 7        as our submission on Docket 200, which I can read into the

 8        record if you'd like.

 9                    THE COURT:   You don't have to read it.          I've read

10        that.   I went and I found the case and the judge in the case.

11        I don't mind calling her and checking on, sort of, what their

12        trial schedule is if you don't actually know.            Do you know

13        whether they're sitting five days a week?

14                    MR. HASSARD:   Are you talking about the Kansas v.

15        Chandler case or the U.S. v. Morgan case?

16                    THE COURT:   The Kansas v. Chandler case.

17                    MR. HASSARD:   I don't know much about that case.            I

18        know the docket number.

19                    THE COURT:   Well, I think that's the question right

20        now.    It sounds to me like we're available to go in October

21        except for two possibilities.       One is that Ms. Still may look

22        at the data and say I just can't possibly review the material

23        in the time we have.

24                    I am doubtful that's the case because, as I said, I

25        was able to review the written portions, not the data itself,
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 1        obviously, but the descriptions of the methodology in probably

 2        less than an hour myself.     And I understand that she may need

 3        to run some analysis of the numbers and see -- and confirm that

 4        it does what Chainalysis says it does, but I would be surprised

 5        if that couldn't be done relatively quickly.           So that's issue

 6        one.

 7                   And then issue two is whether Mr. Fischbach really

 8        needs to be sitting in the trial in Kansas City every single

 9        day for six weeks.

10                   MR. HASSARD:    I have the dates he's given me for the

11        Kansas City -- for the Kansas v. Chandler trial; October 16th

12        to November 10th.

13                   THE COURT:    I think that's the issue where I need

14        some additional information about whether there are two days

15        during that period of time when he could come testify here.

16                   MR. HASSARD:    I can ask him.

17                   THE COURT:    Or I could -- I thought that's what we

18        were doing over the break.

19                   MR. HASSARD:    He appears adamant to be there for the

20        entire time.

21                   THE COURT:    Can we get him on the phone now or Zoom?

22        See if he can join the Zoom with the Court right now?

23                   MR. HASSARD:    He did mention to me he was in a

24        meeting at the top of the hour, so I believe he may be in a

25        meeting presently.     But I can try to see if he can do a Zoom
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 1        for us this afternoon.

 2                   THE COURT:    All right.     Because I think that may be

 3        the one open issue at this point.         So I would like to talk to

 4        him about what his availability is.

 5                   We all have to work around our schedules and other

 6        demands.   So I'd like to know exactly what it is and why he

 7        needs to be sitting there every day.          Obviously, he's not going

 8        to be testifying every day.        It may be, as a rebuttal or an

 9        expert witness, he wants to hear the testimony of the

10        government's witness on the same subject matter.

11                   But I assume that witness is not going to be

12        testifying every day or that he's not going to be responding to

13        other testimony.    So I guess I would like to know whether he

14        really needs to be there every day and, if so, why.

15                   MR. HASSARD:    I'm sure he'll want to be here for

16        every day of this trial, if possible.          I know he does like to

17        listen to everybody's testimony.

18                   THE COURT:    All right.     Well, he can explain that to

19        me.   Let's see if we can get him sometime --

20                   MR. HASSARD:    I'll send him a request for Zoom.

21                   THE COURT:    I'd like to get him in by Zoom this

22        afternoon if we can --

23                   MR. HASSARD:    Okay.

24                   THE COURT:    -- and talk to him about that.

25                   All right.    Anything else before we adjourn?
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 1                     MS. PELKER:   Your Honor, just that it would be

 2        helpful for the government to start setting up the logistics

 3        for review as soon as possible if we could get confirmation

 4        that a clean room or a setup in D.C. versus trying to get

 5        something set up in San Francisco, understanding that we may

 6        have limited options if it's not in D.C.

 7                     We would very much like to do whatever we can to try

 8        and facilitate an expedited review.

 9                     THE COURT:    That's a good point.     Mr. Jay, do you

10        know where Ms. Still would like to do this?

11                     MR. JAY:   I've been told by counsel that she will do

12        it wherever the Court finds it most convenient.

13                     THE COURT:    I have to say, I am extremely

14        appreciative of everything that you and the folks at

15        CipherTrace have done to try and facilitate things here, so

16        thank you.    We appreciate that.

17                     All right.    Let me ask the deputy clerk if there's a

18        time that we can come back this afternoon.

19                     THE COURTROOM DEPUTY:    Your Honor, you want to take

20        an hour lunch and come back at 1:30?

21                     THE COURT:    Maybe at 2:00 just to make sure that

22        there's time to make sure we can get Mr. Fischbach at 2:00?

23        Okay.

24                     Any reason that we'll need Mr. Jay, or can I let

25        Mr. Jay get on with his day at this point?
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 1                   MS. PELKER:     Nothing from the government, Your Honor.

 2                   MR. EKELAND:     Nothing from the defense, Your Honor.

 3                   THE COURT:     Okay.     Mr. Jay, thank you very much for

 4        your participation.      It was very productive, and I really do

 5        appreciate your help.

 6                   MR. JAY:     Thank you, Your Honor.

 7                   THE COURT:     So let's come back at 2:00 and,

 8        hopefully, just pin down where we are with respect to

 9        Mr. Fischbach.      If Mr. Fischbach is not available at 2:00, I

10        would appreciate, Mr. Hassard, if you can figure out what time

11        this afternoon he is available, let the government know, let

12        the deputy clerk know, and we may have to adjust the timing

13        when we come back.      I'd like to do it at 2:00 if we can, and

14        we'll see where we stand then.

15                   MR. HASSARD:     I'll do my best, Your Honor.

16                   THE COURT:     Anything else that you want to raise,

17        anyone wants to raise before we break?           Mr. Ekeland, anything

18        else?

19                   MR. EKELAND:     Not from us, Your Honor.

20                   MS. PELKER:     Nothing from the government, Your Honor.

21                   THE COURT:     All right.     We're making some progress.

22        Thank you all.

23                     (The hearing adjourned at 12:15 p.m.)

24

25
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 1                    CERTIFICATE OF OFFICIAL COURT REPORTER

 2

 3                   I, TAMARA M. SEFRANEK, do hereby certify that the

 4        above and foregoing constitutes a true and accurate transcript

 5        of my stenographic notes and is a full, true and complete

 6        transcript of the proceedings to the best of my ability.

 7                   Dated this 25th day of September, 2023.

 8

 9                              /s/ Tamara M. Sefranek__________
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